                       Case 2:13-cv-00193 Document 775-14 Filed on 11/19/14 in TXSD Page 1 of 2
From                                       Eads         Nick

To                                         G RPDLSSystemSupport
Sent                                       9302013 122141 PM
Subject                                    FW EIC Opening                  Instructions

Attachments                                32 Job Aid Election              Identification       Certificatedocx




There were           some Qless issues that                     occurred          during      last   Saturdays       EIC opening           so   I   am sending some QLess contact
numbers in case                 this occurs        in   the    future



QLess SOS Help Desk                         8777537776 supporto•glesscom                                                                                          2:13-cv-193




                                                                                                                                                                                           exhibitsticker.com
Ray 9134983006 rayagless com                                                                                                                                      09/02/2014
Tim 3106632161                    timu7glesscom
                                                                                                                                                                  DEF1449
                          Qless support number first                                                             try Ray or Tim
Always try          the                                                     but   if   that   doesnt work



Also       the     instructions      in   the      email below and doc attached were sent                               to the     field    back on September                20th




Nick Eads

DL System Support
512 4626118

This   message     contains   information which    maybe     confidential and privileged Unless you are the addressee or authorized to receive for the addressee you may not use
copy   or disclose   to anyone    the message or any       information contained in the message   If
                                                                                                     you have received the message in error please advise the sender by reply email
and delete   the   message




From Bell Stephen
Sent Friday September 20 2013 326 PM
To GRPRegion 1ADLD                         GRPRegion             1BDLD            GRPRegion            2ADLD GRPRegion 2BDLD GRPRegion 3DLD                                          GRPRegion
4DLD GRPRegion 5DLD GRPRegion 6ADLD GRPRegion 6BDLD
Cc Rodriguez              Tony Watkins              Paul Peters Joe Eads Nick                         Miller   Connie Petersen             Dain Gipson Sheri Hibbs                   Rebekah
Mastracchio           JoeAnna        Spinks         Margaret

Subject            FW EIC Opening Instructions
Importance                High



Team


The Secretary              of    State    has      made the decision that NO thumbprints are to be captured when issuing Election
Identification          Certificates         EICs Instructions                    for    bypassing the thumbprint collection process are on pages                                     4 and 5 of

the    attached        document           titled    Election Identification Certificate Issuance                            Procedures


EIC     transaction           are to be tracked                closed out as Original NonCDLs                          in   both   NemoQ and Qless                 if   your office             utilizes


one of these queuing solutions


In   addition        the following          information          is   specific to        offices       using QLess      and was            sent     last   week   but   is   being sent again
as a reminder



       1      Since       we will be issuing only EICs tomorrow QLess has configured                                               the     kiosks      so that customers            will   not                  have

             to select        a queue but will            go directly to          the    page        that   says Please be sure you bring                    the correct       documents
       2         EIC Customers             will    display      in   the   Original      DL ID queue            in   Queue Manager

       3      The queues            in   Queue Manager will                  indicate         they are closed         because      online       home kiosk        access      has been

             deactivated           you      will   be able       to   summon arrive end transaction                         and select          type   of   service as usual



Thank you again                 for remaining flexible                and staying patient              as    we work   through      this




                                                                                                                                                                                                                TEX0506386
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vr

Stephen    W   Bell

Customer Operations Senior Manager North and East
Driver   License   Division

Texas Department of Public Safety
stephen bella dpstexasgov

5125507064         C
5124242768         0


The Driver License Division is committed   to   quality   and excellence   in   customer service   Please share your thoughts with us   via


our online customer service survey at httpwww survey utexas edutxdps




                                                                                                                                   TEX0506387
